        Case 5:19-cr-00797-OLG Document 44 Filed 02/24/20 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

USA                                       §
                                          §
vs.                                       §     NO: SA:19-CR-00797(1,2)-OLG
                                          §
(1) JOSE ANGEL HERNANDEZ                  §
(2) MARIA A. REYES                        §

                     ORDER GRANTING CONTINUANCE
                    AND AMENDING SCHEDULING ORDER

      The matters before the court is Defendant’s Unopposed Motion for

Continuance filed Thursday, February 20, 2020 [dkt. #43], after reviewing the

motion, it is the opinion of the Court that the motion should be granted and that

the trial in this case should be and is continued.

        The Court further finds that the period between Tuesday, March 10, 2020

and Monday, April 13, 2020, is a reasonable period of necessary delay to allow

counsel time for preparation for trial and further finds that such period shall be

excluded from the time within which the defendant must be brought to trial and

that the ends of justice served by taking such action outweighs the best interest of

the public and the defendant in a speedy trial under the Speedy Trial Act pursuant

to Title 18, United States Code, Section 3161(h)(7)(A).

      This case shall proceed on the following amended schedules:

Pursuant to Federal Rules of Criminal Procedure 11(c) and the holding of the Fifth
        Case 5:19-cr-00797-OLG Document 44 Filed 02/24/20 Page 2 of 3




Circuit Court of Appeals in United States of America v. Ellis, 547 F.2d 863 (5th

Cir. 1977), the deadline for notifying the Court of any plea bargain or plea

agreement entered into by the parties in this cause is Thursday, April 02, 2020.

The Court will not accept a plea agreement after the aforementioned deadline.

Should a plea agreement be reached and filed in this case and absent written

objection filed contemporaneously therewith, this case will be referred to a United

States Magistrate Judge for the purpose of administering the plea of guilty and the

Fed. R. Crim. P. 11 allocution, subject to final approval and the imposition of

sentence by the United States District Court.

                          PRETRIAL MATTERS

      Motions in Limine shall be filed on Thursday, March 19, 2020.

      Responses to motions in limine shall be filed on Thursday, April 02, 2020.

      Jury selection and trial are reset for Monday, April 13, 2020 at 9:30 a.m. in

Courtroom Number One, on the First Floor of the, John H. Wood, Jr. United

States Courthouse, 655 East Cesar E. Chavez Blvd., San Antonio, Texas.

      IT IS FURTHER ORDERED that the Clerk of the Court shall send a

copy of this order to counsel for the defendant, the United States Attorney, the

United States Pretrial Services and the United States Probation Office. Counsel

for the defendant shall also notify the defendant of this schedule and advise the

defendant that he must be present for all court proceedings unless excused by the
         Case 5:19-cr-00797-OLG Document 44 Filed 02/24/20 Page 3 of 3




Court.

  Signed this 24th day of February, 2020

                                      ______________________________
                                      ORLANDO L. GARCIA
                                      CHIEF U.S. DISTRICT JUDGE
